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                      UNITED STATES BANKRUPTCY COURT
              EASTERN DISTRICT OF PENNSYLVANIA (PHILADELPHIA)
                 _______________________________________________

In Re:                                                              Case No: 19-17672 - Chapter: 13
                                                                             Judge: Ashely M. Chan
TERRANCE WALLER


                      Debtor



                          CERTIFICATE OF SERVICE
______________________________________________________________________________

        The undersigned states that on May 21, 2024, copies of the Notice of Mortgage Payment
Change were served upon the following parties via first class mail, with proper postage affixed thereto
the Debtors and via the Court's CM-ECF electronic filing system to the Debtor's Attorney and Chapter 13
Trustee.

TERRANCE WALLER                    Debtor's Attorney                Chapter 13 Trustee
7425 RHOADS STREET                 Michael I. Assad                 Kenneth E. West
PHILADELPHIA, PA 19151             1500 Walnut St, Ste 900          1234 Market Street , Suite 1813
                                   Philadelphia, PA 19102           Philadelphia, PA 19107


                                                                    Office of the U.S. Trustee
                                                                    Robert N.C. Nix Federal Building
                                                                    900 Market Street, Suite 320
                                                                    Philadelphia, PA 19107




The above is true to the best of my information, knowledge and belief.

                                                     Signed: /s/ Randall Miller
                                                     Randall Miller
                                                     43252 Woodward Avenue, Suite 180
                                                     Bloomfield Hills, MI 48302
                                                     Telephone (248) 335-9200
